                                                                                      fr   ILI,D
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                                                                            Tll,l%ffif5;#f;    iT,l.^1,??Ji,

                                                                                     JUN   09 2020
                         IN T}IE UNITED STATES DISTRICT COURT
                                                                                MITCHELL R. ELFERS
                              FOR T}IE DISTRICT OF NEW          MEXICO
 {.INITED STATES OF       AMERICA,                 )

                 Plaintifi                         I "**       * Hilut wr,
                                                   )
        vs.                                        )   Connts I and2:18 U.S.C. $$ 922(9)(1) and
                                                   )   924: Felon in Possession of a Firearm and
 ASA JOE,                                          )   Ammunition.
                                                   )
                 Defendant.                        )

                                       INDICTMENT,
The Grand Jury charges:

                                               Count I

       On or about February 22,2019, in San Juan County, in the Disfiict of New Mexico, the

defendant, ASA JOE, knowing that he had been convicted of at least one crime punishable by

imprisonment for a term exceeding one yeax, specifically:

       (1)      attemptedburglary of a dwelling house,

       @        receiving or tansferring a stolen motor vehicle, and

       (3)      aggravated fleeing a law enforcement officer,

knowingly possessed a firearm and ammunition in and affecting commerce.

       In violation of 18 U.S.C. $$ 922(g)   (l)   and 92a.


                                               Count 2

       On or about February 26,201g,in San Juan County, in the Distict of New l[exico, the

defendant,   ASA JOE, knowing that he had been convicted of at least one crime punishable by

imprisonment for a term exceeding one year, specifitally:

       (1)      attempted burglary of a dwelling house,

       q        receiving or transferring a stolen motor vehicle, and
          Case 1:20-cr-01366-KWR Document 2 Filed 06/09/20 Page 2 of 2



       (3)      aggayatedfleeing a law enforcement officer,

knowingly possessed a firearn and ammunition in and affecting coilrmerce.

       In violation of 18 U.S.C. $$ 922(g)(1)       afi9za.

                                 FORFEITURE ALLEGATIONS

       Upon conviction ofthe offense alleged inthis Indictnent, the defendant, ASA JOE, shatl

forfeit to the United States, pursuant to   18   U.S.C. $ 924(d) and 28 U.S.C. $ 2461(c), any interest

he may have in a .45 caliber Hi-Point handgun, .45 caliber Springfield handgun (Serial number

US573482), and all ammunition surrendered to law enforcement on February ZZ,ZOtg ana

February 26,2019.

                                                          A TRUE BILL:

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                                                          FOREPERSON OT TTIE GRAND JTIRY
